                                   LIMITED OFFICIAL USE




MEMORANDUM          FOR:      COLETTE S. PETERS
                              DIRECTOR
                              FEDERAL BUREAU OF PRISONS

CC:                           RONALD L. DAVIS
                              DIRECTOR
                              U.S. MARSHALS SERVICE

FROM:                         THE DEPUTY ATTORNEY GENERAL              CM re
SUBJECT:                      Origination of Special Administrative Measures, Pursuant to
                              28 C.F.R. § 501.3, for Federal Pretrial Inmate
                              Asif Merchant

         Federal pretrial inmate Asif Merchant (Merchant) is charged in an indictment in the
Eastern District of New York alleging he attempted to commit an act of terrorism transcending
national borders, in violation of 18 U.S.C. §§ 2332b(a)(1), 2332b(a)(2), 2332b(1){A).
2332b(1)(B), 2332b(b)(1)(C), 2332b(c)(1)(A), 2332b(c)(2), 2, and 3551 ef seg.; and murder for
hire, in violation of 18 U.S.C. §§ 1958(1), 2, and 3551 et seg. The United States Attorney for the
Eastern District of New York (USA/EDNY) asserts that Merchant, a Pakistani national, engaged
in a plot on behalf of Iran’s Islamic Revolutionary Guard Corps (IRGC), a United States State
Department-designated foreign terrorist organization, in which he attempted to recruit others to
assist him in assassinating United States government officials and engage in other crimes. The
Federal Bureau of Investigation (FBI) and the National Security Division’s Counterterrorism
Section (NSD/CTS) concur in the USA/EDNY’s request to impose SAM. Merchant is currently
in the custody of the United States Marshals Service (USMS) and is housed with the Federal
Bureau of Prisons (BOP) at the Metropolitan Detention Center in Brooklyn, New York (MDC
Brooklyn).

       In Apri! 2024, Merchant traveled via airplane from Pakistan to Houston, Texas.
Following his arrival in Texas, Merchant contacted an individual he believed could assist him in
carrying out his assassination scheme. That individual notified law enforcement and, after
agreeing to act as a confidential source (CS), continued to communicate and meet with
Merchant.    In June 2024, Merchant traveled from Texas to New York to meet with the CS to
discuss the plot. Merchant advised the CS that the plan included multiple components, including
the killing of a politician or government official inside the United States. Merchant tasked the
CS with hiring hitmen to carry out the assassination. That same month, the CS introduced
Merchant to undercover agents (UCs) posing as the hired hitmen.

         During several meetings in June 2024, Merchant met with the UCs and the CS to discuss
facilitating the scheme. For example, in a meeting with the UCs, Merchant stated that he wanted
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                       Page     |2

the UCs to kill a “political person,” and that Merchant was the United States-based
representative of a larger foreign-based group. Merchant further advised that he planned to
provide instructions to the UCs in August and September 2024, and asked that the UCs provide
him with a secure cellular phone over which they could communicate. Ata later meeting, the
UCs gave Merchant the phone he requested, and Merchant agreed to pay the UCs an advance
$5,000 payment for their participation in the plot. Merchant also met with the CS to provide
instruction on the coded communications they were to use to discuss the assassination scheme.
Merchant directed the CS to speak only in the code and not to transmit it via text messages.

        On June 20, 2024, Merchant arranged for the CS to pick up $5,000 in Queens, New York,
to pay to the UCs as the agreed-upon advance payment. Merchant then met with the UCs in
Manhattan, New York, and paid them the money. During that meeting Merchant confirmed that
the scheme would move forward. Merchant also expressed that he wanted the UCs to launder
money for him, and stated that he was to leave the county and that they should meet to discuss
additional details in Dubai or Istanbul. On July 12, 2024, Merchant was arrested as he attempted
to leave the United States.

        Following his arrest, Merchant admitted that he was recruited and trained by the IRGC.
Specifically, he stated he was trained in countersurveillance and other espionage tactics.
According to Merchant, his IRGC handler tasked him with organizing the assassination scheme.
He also stated that he communicated with his handler via messages hidden inside gift bags taken
overseas by others to Pakistan, as well as through messages sent over encrypted phone
applications to a family member who passed information between Merchant and his IRGC
handler. Merchant further admitted that he provided information to his IRGC handler regarding
his recruitment of the CS and the UCs; despite significant investigative efforts, law enforcement
has not identified any IRGC associates of Merchant operating in the United States who could
continue to orchestrate violent acts, but law enforcement cannot definitively rule out the
possibility of any such associates.

       The USA/EDNY concludes that SAM are necessary due to the mission of the IRGC-
Qods Force, which is tasked with conducting lethal operations outside of Iran, and Merchant’s
role as an IRGC asset. Merchant’s IRGC training and mission objectives resulted in the
determination by the USA/EDNY that, if his ability to communicate while incarcerated was left
unfettered, his communications would continue to pose of a risk of violence resulting in death.
The USA/EDNY further concludes that Merchant’s training provided him with the ability to
communicate with co-conspirators via coded and encrypted messages and that, if permitted to
communicate absent the restrictions described in the SAM provisions below, Merchant could
continue to pass valuable information regarding his efforts in organizing the assassination

                                      LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                        Page    [3

scheme. Additionally, there remains a potential threat against the CS for the role the CS played
in disrupting Merchant’s criminal activities.

         Based upon information provided to me of Merchant’s proclivity for violence. | find that
there is substantial risk that his communications or contacts with persons could result in death or
serious bodily injury to persons, or substantial damage to property that would entail the risk of
serious bodily injury to persons. Therefore, | am directing that you, pursuant to 28 C.F.R.
§ 501.3, implement SAM to restrict Merchant's access to the mail, the media, the telephone,
other inmates, and visitors. Implementation of the SAM will commence immediately upon
notice to the inmate, and the SAM will be in effect for one year from the date of my approval,
subject to my further direction or the direction of a designated delegee.

1.     General Provisions

       a.      Adherence to Usual USMS, BOP, and Detention Facility (DF) Policy
               Requirements - In addition to the below-listed SAM, the inmate must comply
               with all usual USMS, BOP, and non-BOP DF policies regarding restrictions,
               activities, privileges, communications, etc. If there is a conflict between
               USMS/BOP/DF policies and the SAM, as set forth herein, where the SAM are
               more restrictive than usual USMS/BOP/DF policies, then the SAM shall control.
               If usual USMS/BOP/DF policies are more restrictive than the SAM, then
               USMS/BOP/DF policies shall control.

       b.      Interim SAM Modification Authority - During the term of this directive, the
               Director, Office of Enforcement Operations (OEO), Criminal Division, may
               modify the inmate’s SAM as long as any SAM modification authorized by OEO:

               i.      Does not create a more restrictive SAM;

               ii.     Is not in conflict with the request of the USA/EDNY, Federal Bureau of
                       Investigation (FBI), or USMS/BOP/DF, or applicable regulations; and

               iii.    Is not objected to by the USA/EDNY, FBI, or USMS/BOP/DF.

       Cc.     Inmate Communications Prohibitions - The inmate is limited, within the
               USMS/BOP/DF’s reasonable efforts and existing confinement conditions, from
               having contact (including passing or receiving any oral, written, or recorded
               communications) with any other inmate, visitor, attorney, or anyone else, except
               as outlined and allowed by this document, that could reasonably foreseeably result
               in the inmate communicating (sending or receiving) information that could


                                   LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                       Page      [4

                circumvent the SAM’s intent of significantly limiting the inmate’s ability to
                communicate (send or receive) threatening or other terrorism-related information.

        d.      Use of Interpreters/Translators by the USMS/BOP/DF - Interpreter/Translator
                approval requirement:

                i,     The USMS/BOP/DF may use Department of Justice (DOJ) approved
                       interpreters/translators as necessary for the purpose of facilitating
                       communication with the inmate.

                ii.    No person shall act as an interpreter/translator without prior written
                       clearance/approval from the USMS/BOP/DF, which shall only be granted
                       after consultation with the FBI and USA/EDNY.

               ii.     Interpreters/translators utilized by the USMS/BOP/DF shall not be
                       allowed to engage in, or overhear, unmonitored conversations with the
                       inmate. Interpreters/translators shall not be alone with the inmate, either
                       in a room or ona telephone or other communications medium

2,      Attorney-Client Provisions

       a.      Attorney! Affirmation of Receipt of the SAM Restrictions Document - The
               inmate’s attorney (or counsel) -- individually by each if more than one -- must
               sign an affirmation acknowledging receipt of the SAM restrictions document. By
               signing the affirmation, the attorney acknowledges his or her awareness and
               understanding of the SAM provisions and his or her agreement to abide by these
               provisions, particularly those that relate to contact between the inmate and his
               attorney and the attorney’s staff. The signing of the affirmation does not serve as
               an endorsement of the SAM or the conditions of confinement, and does not serve
               to attest to any of the factors set forth in the conclusions supporting the SAM.
               However, in signing the affirmation, the inmate’s attorney and precleared staff

         ' The term “attorney” refers to the inmate's attorney of record, who has been verified and
documented by the USA/EDNY, and who has received and acknowledged receipt of the SAM
restrictions document. As used in this document, “attorney” also refers to more than one
attorney where the inmate is represented by two or more attorneys, and the provisions of this
document shall be fully applicable to each such attorney in his or her individual capacity.

       *“Precleared,” when used with regard to an attorney’s staff, or “precleared staff
member,” refers to a co-counsel, paralegal, or investigator who is actively assisting the inmate’s
attorney with the inmate’s post-sentencing proceedings, who has submitted to a background

                                    LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. $501.3
Inmate — Merchant                                                                        Page   |5

                acknowledge the restriction that they will not forward third-party messages to or
                from the inmate.

                i.      The USA/EDNY shall present, or forward, the attorney affirmation of
                        receipt of the SAM restrictions document to the inmate’s attorney.

                ii.     After initiation of the SAM and prior to the inmate’s attorney being
                        permitted to have attorney-client privileged contact with the inmate, the
                        inmate’s attorney shall execute a document affirming receipt of the SAM
                        restrictions document and return the original to the USA/EDNY.

                iii.    The USA/EDNY shall maintain the original of the SAM acknowledgment
                        document and forward a copy of the signed document to OEO in
                        Washington, D.C., and the USMS/BOP/DF.

        b.      Attorney Use of Interpreters/Translators -

                i,      Necessity Requirement - No interpreter/translator shall be utilized unless
                        absolutely necessary where the inmate does not speak a common language
                        with the attorney. Any interpreter/translator shall be precleared.?

                ii.     Attorney Immediate Presence Requirement - Any use of an
                        interpreter/translator by the attorney shall be in the physical and
                        immediate presence of the attorney -- i¢., in the same room. The attorney


check by the FBI and USA/EDNY, who has successfully been cleared by the FBI and
USA/EDNY, and who has received a copy of the inmate’s SAM and has agreed -- as evidenced
by his or her signature -- to adhere to the SAM restrictions and requirements. As used in this
document, “staff member” also refers to more than one staff member, and the provisions of this
document shall be fully applicable to each such staff member in his or her individual capacity. A
“paralegal” will also be governed by any additional DF rules and regulations concerning
paralegals.

        3 “Precleared,” when used with regard to an interpreter/translator, refers to an
interpreter/translator who is actively assisting the inmate's attorney with the inmate’s post-
sentencing proceedings, who has submitted to a background check by the FBI and USA/EDNY,
who has successfully been cleared by the FBI and USA/EDNY, and who has received a copy of
the inmate’s SAM and has agreed -- as evidenced by his or her signature -~ to adhere to the SAM
restrictions and requirements.


                                    LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                  Page     [6

                 shall not patch through telephone calls, or any other communications, to or
                 from the inmate.

          iil.   Translation of Inmate’s Correspondence - An attorney of record may
                 only allow a precleared interpreter/translator to translate the inmate’s
                 correspondence as necessary for attorney-client privileged
                 communication,

          Attorney-Client Privileged Visits - Attorney-client privileged visits may be
          contact or non-contact, at the discretion of the USMS/BOP/DF.

         Attorney May Disseminate Inmate Conversations - The inmate's attorney may
         disseminate the contents of the inmate’s communication to third parties for the
         sole purpose of providing necessary legal services related to the inmate’s post-
         sentencing proceedings -- and not for any other reason -- on the understanding
         that any such dissemination shall be made solely by the inmate’s attorney, and not
         by the attorney’s staff.

         Unaccompanied Attorney’s Precleared Paralegal(s) May Meet With Client -
         The inmate’s attorney’s precleared paralegal(s) may meet with the inmate without
         the need for the inmate’s attorney to be present. These meetings may be contact
         or non-contact, at the discretion of the USMS/BOP/DF.

         Simultaneous Multiple Legal Visitors - The inmate may have multiple legal
         visitors provided that at least one of the multiple legal visitors is the inmate’s
         attorney or precleared paralegal. These meetings may be contact or non-contact,
         at the discretion of the USMS/BOP/DF. An investigator or interpreter/translator
         may not meet alone with the inmate.

         Legally Privileged Telephone Calls - The following rules refer to all legally
    gQ




         privileged telephone calls or communications:

         i.      Inmate’s Attorney’s Precleared Staff May Participate in Inmate
                 Telephone Calls - The inmate’s attorney’s precleared staff are permitted
                 to communicate directly with the inmate by telephone, provided that the
                 inmate’s attorney is physically present and participating in the legal call,
                 as well.

         ii.     Inmate’s Initiation of Legally Privileged Telephone Calls - Inmate-
                 initiated telephone communications with his attorney or precleared staff


                              LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                            Page   |7

                       are to be placed by a USMS/BOP/DF staff member and the telephone
                       handed over to the inmate only after the USMS/BOP/DF staff member
                       confirms that the person on the other end of the line is the inmate’s
                       attorney. The inmate’s ability to initiate calls in this manner is contingent
                       upon the following additional restrictions:

                       (1)      The inmate’s attorney will not allow any non-precleared person to
                                communicate with the inmate, or to take part in and/or listen to or
                                overhear any communications with the inmate.

                       (2)      The inmate’s attorney must instruct his or her staff that:

                                (a)     The inmate’s attorney and precleared staff are the only
                                        persons allowed to engage in communications with the
                                        inmate.

                                (b)     The attorney's staff (including the attorney) are not to patch
                                        through, forward, transmit, or send the inmate’s calls, or
                                        any other communications, to third parties.

                       (3)       No telephone call/communication, or portion thereof, except as
                                specifically authorized by this document:

                                (a)     Is to be overheard by a third party.*

                                (b)    Will be patched through, or in any manner forwarded or
                                       transmitted, to a third party.

                                (c)    Shall be divulged in any manner to a third party, except as
                                       otherwise provided in Section 2.d, above.

                                (d)    Shall be in any manner recorded or preserved.> The
                                       inmate’s attorney may make written notes of attorney-client
                                       privileged communications.

        * For purposes of the SAM, “third party” does not include officials of the
USMS/BOP/DF, FBI, DOJ, or other duly authorized federal authorities when acting in
connection with their official duties. This section does not allow monitoring of attorney-client
privileged communications.

       > Except by the USMS/BOP/DF, FBI, DOJ, or other duly authorized federal authorities.

                                      LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                         Page       |8

                        (4)    ‘Ifthe USMS/BOP/DF, FBI, or USA/EDNY determines that the
                               inmate has used or is using the opportunity to make a legal call to
                               speak with another inmate or for any other non-legal reason that
                               would circumvent the intent of the SAM, the inmate’s ability to
                               contact his attorney by telephone may be suspended or eliminated.

        h.     Documents Provided by Attorney to Inmate - During a visit, the inmate’s
               attomey may provide the inmate with, or review with the inmate, documents
               related to his post-sentencing proceedings, and/or material prepared by the
               inmate’s attorney related to such proceedings, so long as any of the foregoing
               documents are translated, if translation is necessary, by a precleared
               interpreter/translator. Any documents not related to the inmate’s post-sentencing
               proceedings must be sent to the inmate via general correspondence and will be
               subject to the mail provisions of subparagraphs 2.1. and 3.2. Documents
               previously reviewed and cleared for receipt by the inmate, and already in the
               inmate’s possession at the outset of the visit, may be discussed or reviewed by the
               inmate and the inmate’s attorney during the visit.

               i,      None of the materials provided may include inflammatory materials,
                       materials inciting violence, military training materials, or materials that
                       may be used to pass messages from inmate to inmate, unless such
                       materials have been precleared by the USA/EDNY and FBI.

               il.    The USA/EDNY may authorize additional documents to be presented to
                      the inmate. If any document not listed or described above needs to be
                      transmitted to the inmate, consent for the transmission of the document
                      may be obtained from the USA/EDNY without the need to formally seek
                      approval for an amendment to the SAM.

        i.      Legal Mail® - The inmate’s attorney may not send, communicate, distribute, or
                divulge the inmate’s mail (legal or otherwise), or any portion of its contents, to
                third parties, except when disclosure of the contents is necessary for the sole
                purpose of providing necessary legal services related to the inmate’s post-
                sentencing proceedings and not for any other reason.

This section does not allow monitoring of attorney-client privileged communications.

        ° “Legal mail” is defined as properly marked correspondence (marked “Legal Mail”)
addressed to or from the inmate’s attorney. All other mail, including that otherwise defined by
the USMS/BOP/DF as Special Mail, shall be processed as “non-legal mail.”


                                    LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                         Page     19

                    In signing the SAM acknowledgment document, the inmate’s attorney and
                    precleared staff will acknowledge the restriction that only inmate case-related
                    documents will be presented to the inmate. and that the attorney and his or her
                    staff are strictly prohibited from forwarding third-party mail to or from the
                    inmate.

3.     Inmate’s Non-legal Contacts

       a.      Non-legally Privileged Telephone Contacts -

               i.         The inmate is only authorized to have non-legally privileged telephone
                          calls with his immediate family members.’

               ik.        The quantity and duration of the inmate’s non-legally privileged telephone
                          calls with his immediate family members shall be set by the
                          USMS/BOP/DF, with a minimum of one call per month.

       b.      Rules for Telephone Calls - For all non-legally privileged telephone calls or
               communications, no telephone call/communication, or portion thereof:

               i.         Is to be overheard by a third party.

               ii.        Is to be patched through, or in any manner forwarded or transmitted, to a
                          third party.

               ill.       Shall be divulged in any manner to a third party.

               iv.        Shall be in any manner recorded or preserved.®

               All telephone calls shall be in English unless a fluent USMS/BOP/DF- or FBI-
               approved interpreter/translator is available to contemporaneously monitor the
              telephone call. Arranging for an interpreter/translator may require at least
              fourteen (14) days’ advance notice.


       ? The inmate’s “immediate family members” are defined as the inmate’s
(USMS/BOP/DF- or FBI-verifiable) spouse, children, parents, and siblings. Requests for
additional non-legal contacts may be submitted and will be considered on a case-by-case basis.

       5 Except by the USMS/BOP/DF, FBI, DOJ, or other duly authorized federal authorities.


                                         LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                        Page     [10

       c.      Telephone SAM Restriction Notifications ~ For all non-legally privileged
               telephone calls to the inmate’s immediate family member(s):

               i.      The USMS/BOP/DF shall inform the inmate of the telephone SAM
                       restrictions prior to each telephone call.

               il.     The USMS/BOP/DF shall verbally inform the inmate’s immediate family
                       member(s) on the opposite end of the inmate’s telephone communication
                       of the SAM restrictions. The USMS/BOP/DF is only required to notify
                       the inmate’s communication recipient in English.

               iii.   © The USMS/BOP/DF shail document each such telephone notification.

       d.      Family Call Monitoring - All calls with the inmate’s immediate family
               member(s) shall be:

               i.      Contemporaneously monitored by the FBI.

               il,     Contemporaneously recorded (as directed by the FBI) in a manner that
                       allows such telephone calls to be analyzed for indications the call is being
                       used to pass messages soliciting or encouraging acts of violence or other
                       crimes, or to otherwise attempt to circumvent the SAM.

               iil.    A copy of each telephone call recording involving an inmate/immediate
                       family member shall be provided by the USMS/BOP/DF to the FBI.
                       These recordings shall be forwarded on a call-by-call basis as soon as
                       practicable.

       €,      Improper Communications - If telephone call monitoring or analysis reveals
               that any call or portion of a call involving the inmate contains any indication of a
               discussion of illegal activity, the soliciting of or encouraging of acts of violence or
               terrorism, or actual or attempted circumvention of the SAM, the inmate shall not
               be permitted any further calls to his immediate family members for a period of
               time to be determined by the USMS/BOP/DF. If contemporaneous monitoring
               reveals such inappropriate activity, the telephone call may be immediately
               terminated.




                                     LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.5
Inmate ~ Merchant                                                                         Page    |11

       f.      Non-legal Visits -

                      Limited Visitors - The inmate shall be permitted to visit only with his
                      immediate family members. The visitor’s identity and family member
                      relationship to the inmate will be confirmed by the USMS/BOP/DF and
                      FBI in advance.

                      English Requirement - All communications during non-legal inmate
                      visits will be in English unless a fluent USMS/BOP/DF- or FBI-approved
                      interpreter/translator is readily available to contemporaneously monitor
                      the communication/visit. Arranging for an interpreter/translator may
                      require at least fourteen (14) days’ advance notice.

               iti.   Visit Criteria - All non-legal visits shall be:

                      @)        Contemporaneously monitored by the USMS/BOP/DF and/or FBI.
                                in a manner that allows such visits to be analyzed for indications
                                the visit is being used to pass messages soliciting or encouraging
                                acts of violence or other crimes, or to otherwise attempt to
                                circumvent the SAM.

                      (2)       Permitted only with a minimum of fourteen (14) calendar days’
                                advance written notice to the USMS/BOP/DF facility where the
                                inmate is housed.

                                Without any physical contact. All such meetings shall be non-
                                contact to protect against harm to visitors or staff.

                      (4)       Limited to one adult visitor at a time.   However, the FBI-verified
                                children of the inmate may visit with a pre-approved adult visitor.

               Non-legal Mail - Non-legal mail is any mail not clearly and properly addressed
       aq




               to/from the inmate’s attorney and marked “Legal Mail” (incoming or outgoing).
               In addition to non-legal mail from the inmate’s attorney, as discussed in
               subparagraph 2.h. above, non-legal mail is only authorized with the inmate’s
               immediate family, U.S. courts, federal judges, U.S. Attorneys’ Offices, members
               of U.S. Congress, the BOP, or other federal law enforcement entities.

                      General correspondence with limitations - Correspondence is only
                      authorized with immediate family members. The volume and frequency


                                     LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE           MEASURES        (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                      Paue    [12

                     of outgoing general correspondence with immediate family members may
                     be limited to three pieces of paper (not larger than 8 4” x 11”), double-
                     sided, once per calendar week to a single recipient, at the discretion of the
                     USMS/BOP/DF. The identity and family member relationship to the
                     inmate will be confirmed by the USMS/BOP/DF and FBI.

                     General correspondence without limitations - There is no volume or
                     frequency limitation on correspondence to/from U.S. courts, federal
                     judges, U.S. Attorneys’ Offices, members of U.S. Congress, the BOP, and
                     other federal law enforcement entities, unless there is evidence of abuse of
                     these privileges, threatening correspondence is detected, circumvention of
                     the SAM is detected, or the quantity to be processed becomes
                     unreasonable to the extent that efficient processing to protect the security,
                     good order, or discipline of the institution, the public, or national security
                     may be jeopardized.

              iil.   All non-legal mail shall be -

                     (1)    Copied - Shall be copied (including the surface of the envelope)
                            by the warden, or his or her designee, of the facility in which the
                            inmate is housed.

                     (2)     Forwarded - Shall be forwarded, in copy form, to the location
                             designated by the FBI.

                     (3)   | Analyzed - After government analysis and approval, if
                             appropriate, the inmate’s incoming/outgoing non-legal mail shall
                             be forwarded to the USMS/BOP/DF for delivery to the inmate
                             (incoming), or directly to the addressee (outgoing).

              iv.    The federal government shall forward the inmate’s non-legal mail to the
                     USMS/BOP/DF for delivery to the inmate or directly to the addressee
                     after a review and analysis period of:

                     (1)     A reasonable time not to exceed fourteen (14) business days for
                             mail that is written entirely in the English language.

                     (2)      Areasonable time not to exceed sixty (60) business days for any
                             mail that includes writing in any language other than English, to
                             allow for translation.


                                  LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                        Page     ]13

                      (3)       Areasonable time not to exceed sixty (60) business days for any
                                mail where the federal government has reasonable suspicion to
                                believe that a code was used, to allow for decoding.

               v.     Mail Seizure - If outgoing/incoming mail is determined by the
                      USMS/BOP/DF or FBI to contain overt or covert discussions of or
                      requests for illegal activities, the soliciting or encouraging of acts of
                      violence or terrorism, or actual or attempted circumvention of the SAM.
                      the mail shall not be delivered/forwarded to the intended recipient but
                      referred to the FBI for appropriate action. The inmate shall be notified in
                      writing of the seizure of any mail.

4,     Communication With News Media

       The inmate shall not be permitted to speak, meet, correspond, or otherwise communicate
       with any member or representative of the news media in person; by telephone; by
       furnishing a recorded message; through the mail, his attorney, or a third party; or
       otherwise.

5.     Religious Visitation

       If a USMS/BOP/DF- and/or FBI-approved religious representative is to be present for
       prayer with the inmate, the prayer shall be conducted as part of a contact or non-contact
       visit, at the discretion of the USMS/BOP/DF.

6.     No Communal Cells and No Communication Between Cells

       a.      The inmate shall not be allowed to share a cell with another inmate.

       b.      The inmate shall be limited within the USMS/BOP/DF’s reasonable efforts and
               existing confinement conditions, from communicating with any other inmate by
               making statements audible to other inmates or by sending notes to other inmates.

7.     Celiblock Procedures

       a.      The inmate shall be kept separated from other inmates as much as possible while
               in the cellblock area.




                                     LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                        Page     [14

       b.     The inmate shall be limited, within the USMS/BOP/DF’s reasonable efforts and
              existing confinement conditions, from communicating with any other inmate
              while in the cellblock area.

8.     Access to Mass Communications

       To prevent the inmate from receiving and acting upon critically timed information or
       information coded in a potentially undetectable manner, the inmate’s access to materials
       of mass communication is restricted as follows:

       a.     Publications/Newspapers -

              i.      The inmate may have access to publications determined not to facilitate
                      criminal activity or be detrimental to national security; the security, good
                      order, or discipline of the institution; or the protection of the public. This
                      determination is to be made by the USMS/BOP/DF, in consultation with
                      the USA/EDNY. The inmate may correspond with the publishing
                      company regarding technical aspects of the publication, i.e., availability of
                      particular volumes, billing questions, etc. The review of this
                      correspondence will be in accordance with section 8(a)(ili), below.

                      Sections of any publication/newspaper that offer a forum for information
                      to be passed by unknown and/or unverified individuals, including but not
                      limited to classified advertisements and letters to the editor, should be
                      removed from the publications/newspapers prior to distribution to the
                      inmate.

              iii.    If restricted by the USMS/BOP/DF rules, access to a publication will be
                      denied. If acceptable, upon delivery, the USMS/BOP/DF will review the
                      publication and make the initial determination. If the FBI’s expertise is
                      required, the publication will be forwarded to the FBI for review. The
                      USMS/BOP/DF will also forward the publication to the FBI if translations
                      are needed to make that determination. (In these cases, the FBI shall
                      respond to the USMS/BOP/DF within fourteen (14) business days.) The
                      inmate shall then have access to the remaining portions of the
                      publications/newspapers deemed acceptable, in accordance with
                      USMS/BOP/DF policy.




                                   LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                      Page      [15

                  iv.   In order to avoid passing messages/information from inmate to inmate, the
                        inmate shall not be allowed to share the publication(s) with any other
                        inmates.

      b.      Television and Radio - The inmate is authorized to have television and radio
              viewing and listening privileges, in accordance with standard and applicable
              USMS/BOP/DF policies and procedures.

      c.      Termination or Limitation - If the USMS/BOP/DF determines that mass
              communications are being used as a vehicle to send messages to the inmate
              relating to the furtherance of criminal activities, the inmate’s access may be
              limited or terminated for a period of time to be determined by the
                  USMS/BOP/DF.

      Access to Books

      The inmate may have access to all books that do not facilitate criminal activity or present
      a substantial threat to national security or the security, discipline, or good order of the
      institution. This initial determination is to be made by the USMS/BOP/DF and, if the
      USMS/BOP/DF determines that the FBI’s expertise is required, the book(s) will be
      forwarded to the FBI for review. In conducting its analysis, the FBI will determine
      whether the book advocates or promotes acts of terrorism or violence and/or whether
      access to the book by this particular inmate would pose a substantial threat to national
      security.

      In order to avoid passing messages/information from inmate to inmate, the inmate shall
      not be allowed to share books with any other inmates.

10.   Transfer of Custody

      In the event that the inmate is transferred to or from the custody of the USMS, BOP, or
      any other DF, the SAM provisions authorized for this inmate shall continue in effect,
      without need for any additional DOJ authorization.

Il.   Inmate’s Consular Contacts

      The inmate, who is a citizen of a foreign country, shall be allowed Consular
      communications and visits, consistent with USMS/BOP/DF policy. The Consular
      contacts shall comply with the U.S. Department of State (DOS) Consular notification and



                                    LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                          Page     |16

        access requirements.’ Prior to permitting any Consular contact, the FBI will verify the
        Consular representative's credentials with the DOS.

CONCLUSION

        The SAM set forth herein, especially as they relate to attorney-client privileged
communications and contact with family and other inmates, are reasonably necessary to prevent
the inmate from committing, soliciting, or conspiring to commit additional criminal activity.
Moreover, these measures are the least restrictive that can be tolerated in light of the ability of
this inmate to aid, knowingly or inadvertently, in plans that create a substantial risk that the
inmate’s communications or contacts with persons could result in death or serious bodily injury
to persons.

        With respect to telephone privileges, the SAM are reasonably necessary because of the
high probability of calls to co-conspirators to arrange terrorist or criminal activities.

         With respect to mail privileges, the SAM are necessary to prevent the inmate from
receiving or passing along critically timed messages. Accordingly, I have weighed the inmate's
interest in the timely receipt and/or submission of mail, with the possible danger the contents of
the mail may pose to others. I have determined that delaying mail delivery to allow authorized
personnel to examine a copy of the mail is the least restrictive means available to ensure that the
mail is not being used to deliver requests for, or to assist in, violent threats, and/or criminal acts
against government witnesses or others.

         To the extent that the use of an interpreter/translator is necessary, the government has the
right to ensure that the interpreter/translator given access to the inmate is worthy of trust.

      The SAM’s prohibition of contact with the media is reasonably necessary.
Communication with the media could pose a substantial risk to public safety if the inmate

        ® See U.S. Dep’t of State, Consular Notification and Access: Instructions for Federal,
State, and  Local Law Enforcement and Other Officials Regarding Foreign Nationals in the
United States and the Rights of Consular Officials to Assist Them (2018),
https://travel.state.gov/CNA.

        For more information, please contact the Bureau of Consular Affairs in writing at:
Consular Notification & Access, U.S. Department of State, CA/P, SA-17 12" Floor, Washington,
D.C. 20522-1712; via telephone at (202) 485-7703 or by email at consnot@state.gov.




                                      LIMITED OFFICIAL USE
SPECIAL ADMINISTRATIVE MEASURES (SAM)
Pursuant to 28 C.F.R. § 501.3
Inmate — Merchant                                                                       Page     |17

advocates terrorist, criminal, and/or violent offenses, or if he makes statements designed to incite
such acts. Based upon the inmate’s past behavior, | believe that it would be unwise to wait until
after the inmate solicits or attempts to arrange a violent or terrorist act to justify such media
restrictions.

         The SAM’s limitations on access to mass communications are reasonably necessary to
prevent the inmate from receiving and acting upon critically timed messages. Such messages
may be placed in advertisements or communicated through other means, such as the television
and/or radio. | believe that limiting and/or delaying media access may interrupt communication
patterns the inmate may develop with the outside world, and ensure that the media is not used to
communicate information that furthers terrorist, violent, and/or criminal activities.

SAM CONTACT INFORMATION

         Any questions that you or your staff may have about this memorandum or the SAM
directed herein should be directed to the Office of Enforcement Operations, Criminal Division,
U.S. Department of Justice, 1301 New York Avenue, N.W., JCK Building, Room 900,
Washington, D.C. 20530-0001; and telephone (202) 514-6809.




                                     LIMITED OFFICIAL USE
1)   SAM Section 2.a., FN2:

     “Precleared,” when used with regard to an attorney’s staff, or “precleared staff member,”
     refers to a co-counsel, paralegal, or investigator who is actively assisting the inmate’s
     attorney with the inmate’s defense, who has submitted to a background check by the FBI
     and USA/EDNY, who has successfully been cleared by the FBI and USA/EDNY, and
     who has received a copy of the inmate’s SAM and has agreed -- as evidenced by his or
     her signature -- to adhere to the SAM restrictions and requirements. As used in this
     document, “staff member” also refers to more than one staff member, and the provisions
     of this document shall be fully applicable to each such staff member in his or her
     individual capacity. A “paralegal” will also be governed by any additional DF rules and
     regulations concerning paralegals.

     SAM Section 2.b.i., FN3:

     “Precleared,” when used with regard to an interpreter/translator, refers to an
     interpreter/translator who is actively assisting the inmate’s attorney with the inmate’s
     defense, who has submitted to a background check by the FBI and USA/EDNY, who has
     successfully been cleared by the FBI and USA/EDNY, and who has received a copy of
     the inmate’s SAM and has agreed ~-- as evidenced by his or her signature -- to adhere to
     the SAM restrictions and requirements.

     SAM Section 2.d.

     Attorney May Disseminate Inmate Conversations - The inmate’s attorney may
     disseminate the contents of the inmate’s communication to third parties for the sole
     purpose of providing necessary legal services related to the inmate’s defense -- and not
     for any other reason -- on the understanding that any such dissemination shall be made
     solely by the inmate’s attorney, and not by the attorney’s staff.

4)   SAM Section 2.h.

     Documents Provided by Attorney to Inmate - During a visit, the inmate’s attorney may
     provide the inmate with, or review with the inmate, documents related to his defense,
     including discovery materials, court papers (including indictments, court orders, motions,
     etc.), and/or material prepared by the inmate’s attorney, so long as any of the foregoing
     documents are translated, if translation is necessary, by a precleared interpreter/translator.
     Any documents not related to the inmate’s defense must be sent to the inmate via general
     correspondence and will be subject to the mail provisions of subparagraphs 2.i. and 3.g.
     Documents previously reviewed and cleared for receipt by the inmate, and already in the
     inmate’s possession at the outset of the visit, may be discussed or reviewed by the inmate
     and the inmate’s attorney during the visit.




                                  LIMITED OFFICIAL USE
    5)   SAM Section 2.i.

         The inmate’s attorney may not send, communicate, distribute, or divulge the inmate’s
         mail (legal or otherwise), or any portion of its contents, to third parties, except when
         disclosure of the contents is necessary for the sole purpose of providing necessary legal
         services related to the inmate’s post-sentencing proceedings and not for any other reason.

                                                 sek



         All other SAM provisions for the above-captioned individual will continue in full force
and effect for the remainder of the current authorization period of one year, subject to my further
direction.


SAM CONTACT INFORMATION

        Any questions that you or your staff may have about this memorandum or the SAM
directed herein should be directed to the Office of Enforcement Operations, Criminal Division,
U.S. Department of Justice, 1301 New York Avenue, N.W., JCK Building, Room 900,
Washington, D.C. 20530-0001; telephone (202) 514-6809.




                                     LIMITED OFFICIAL USE
